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                                   UNITED STATES DISTRICT COURT
16
                                NORTHERN DISTRICT OF CALIFORNIA
17
                                         OAKLAND DIVISION
18

19   TSA USA LLC,                                       Case No. 4:17-cv-03536-HSG

20                          Plaintiff,                  JOINT STIPULATION AND
                                                        [PROPOSED] ORDER RE CASE
21                 v.                                   MANAGEMENT CONFERENCE AND
                                                        RELATED DEADLINES
22   UBER TECHNOLOGIES, INC.,
                                                        Hon. Haywood S. Gilliam, Jr.
23                          Defendant.

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26          The parties have now completed their respective briefing related to Defendant’s motion to

27   dismiss. Dkt No. 42.

28
                                                                JOINT STIPULATION & [PROPOSED] ORDER
                                                               RE CASE MANAGEMENT CONFERENCE AND
                                                                                  RELATED DEADLINES
                                                                            Case No. 4:17-cv-03536-HSG
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 1          A Case Management Conference is currently scheduled in the above-referenced matter on

 2   November 28, 2017.

 3          The parties met and conferred relating to the most logical sequencing of case events in this

 4   action, including the timing of the Case Management Conference and related deadlines.

 5          Subject to the Court’s approval, the parties agreed that it would be most efficient to

 6   continue the Case Management Conference, and all related deadlines under Rule 26(a), (f) and

 7   the Court’s ADR Local Rules, to a later date, as the Court’s ruling on the motion to dismiss may

 8   impact the need for, and/or nature and scope of, the Case Management Conference and related

 9   submissions.
10          THEREFORE, the parties, through their undersigned counsel, STIPULATE and request

11   that the Court enter an ORDER, as follows:

12          1.       The Case Management Conference currently scheduled on November 28, 2017

13   shall be continued until January 30, 2018 at 2:00 p.m., or until a date and time otherwise ordered

14   by the Court.

15          2.       The deadlines under the Court’s ADR Local Rules are continued to 21 days before

16   the Case Management Conference.

17          3.       The deadlines under Rule 26(a) and (f) are continued to seven days before the

18   Case Management Conference.

19   IT IS SO STIPULATED.
20   Dated: November 15, 2017                         By                /s/ Brian C. Rocca
                                                                          Brian C. Rocca1
21
                                                      MORGAN, LEWIS & BOCKIUS LLP
22                                                    Attorneys for Defendant
23   Dated: November 15, 2017                         By               /s/ Steven M. Shebar
                                                                         Steven M. Shebar
24
                                                      SHEBAR LAW FIRM
25                                                    Attorneys for Plaintiff
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      Brian C. Rocca, the filer of this document, hereby attests that he obtained the concurrence of the
28   other signatory, Steven M. Shebar, prior to its filing.
                                                                  JOINT STIPULATION & [PROPOSED] ORDER
                                                      2           RE CHOICE OF LAW AND RELATED ISSUES
                                                                                Case No. 4:17-cv-03536-HSG
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 1
                                  [PROPOSED] ORDER
 2
           PURSUANT TO STIPULATION, IT IS SO ORDERED.
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     Dated: _______________________________
 5                                                UNITED STATES DISTRICT JUDGE

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                                                      JOINT STIPULATION & [PROPOSED] ORDER
                                              3       RE CHOICE OF LAW AND RELATED ISSUES
                                                                 Case No. 4:17-cv-03536-HSG
